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AO 442 (Rev. 01/09) Arrest Warrant oo as oe oh: 3 6

"UNITED STATES DisTRICT COURT

for the

_ Western District of Tennessee

United States of America )
v. ) -
4 y Case No. 1:20-CR-10063-STA
JASON WAYNE AUTRY )
Defendant )
ARREST WARRANT
To: = Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(nane_.of person to be arrested) JASON WAYNE AUTRY
Who i is accused of al an offense or violation based on the following document filed with the court:

O Indictment ft Superseding Indictinent C1 ‘Information O1 Superseding Information. © Complaint

(J Probation Violation Petition | © Supervised Release Violation Petition Violation Notice O Order of the Court’
This offense is briefly described as follows:

18 U.S.C.§922 (g)(1), Felon in possession of a firearm
18 U.S.C.§924 (e), Armed Career criminal enhancement

~ Pate: 09/29/2022 . _ Che Gull

Issuing officer's signanure

City and state: _ Mernphis, Tennessee THOMAS M. GOULD - . United States. Clerk of. Court

Pr intéd name aud title

‘Retur n-

This warrant mp “SRB ths on LP and the person was arrested on (date). lef [22

at (city and Suite)

Date Jo)21)aa : Cenk

“Arresting officer's signature

VL Vi a Vr ol) Zo Printed name and title

